Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 1 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 2 of 53




          Exhibit 1
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 3 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 4 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 5 of 53




          Exhibit 2
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 6 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 7 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 8 of 53




          Exhibit 3
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 9 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 10 of 53




           Exhibit 4
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 11 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 12 of 53




           Exhibit 5
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 13 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 14 of 53




           Exhibit 6
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 15 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 16 of 53




           Exhibit 7
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 17 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 18 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 19 of 53




           Exhibit 8
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 20 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 21 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 22 of 53




           Exhibit 9
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 23 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 24 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 25 of 53




        Exhibit 10
              Case 1:25-cv-00402-AHA                                                          Document 44                       Filed 02/26/25   Page 26 of 53


From:           CGFS Overseas Customer Support Desk
Subject:        Informational Broadcast 1049137: RFMS/M Relationship Edits to Control Spending of Foreign Assistance (UPDATE)
Date:           Friday, February 21, 2025 5:49:45 PM
Attachments:    Obligation or Disbursement under Waiver of Foreign Assistance Pause.pdf
                GFMS RFMS System Relationship Edits 020725 1.docx
                25-STATE-14458.eml.pdf
Importance:     High


This message is being sent on behalf of the Bureau of the Comptroller and Global Financial Services (CGFS) to all posts.

This broadcast is being issued as an update to the previously released Broadcasts 1038497 and 1042239 that notified posts of relationship edits established in GFMS and RFMS to
control foreign assistance spending.

ALDAC 25 STATE 14458 provides instructions for processing 12(c) Administrative Expense payments consistent with Executive Order 14169 on Reevaluating and Realigning
United States Foreign Aid and the Secretary's direction in 25 STATE 6828, which paused all new obligations and disbursements of Department of State and USAID foreign
assistance. The guidance follows the waiver authority outlined in 25 STATE 6828 (para 12 section c), "The Secretary of State has approved waivers of the pause under the
Executive Order and this ALDAC… on a temporary basis, salaries and related administrative expenses, including travel, for U.S. direct hire employees, personal services
contractors, and locally employed staff."

Effective immediately, posts may proceed processing payments through the Post Support Unit (PSU) and obligating these expenses at post without obtaining Senior Bureau Officer
(SBO) approvals for waived 12(c) related expenses. For requests for emergency payments needing exceptional urgent attention, post may complete the PSU Emergency Request to
alert PSU to prioritize that voucher. Please pay close attention to the form information before submitting, ensure the voucher is fully ready for PSU to process in both ILMS and
RFMS, before submitting your request.

Guidance for Cashier Payments
For 12(c) waived expenses that require cash disbursement through the post cashier, please work with the Business and Systems Support (BSS) Division to process these expenses.
For cashier payments citing Foreign Assistance or USAID funding, post should contact BSS by email at gfsc-accountingbss-dl@state.gov.

Post should include in the email:
      The transaction type(s) (PC, PV, etc.)
      The transaction number(s)
      The relationship edit number(s) rejecting the payment in RFMS/C
      Any applicable SBO memos as required (for non-12(c) waived expenses).
      For 12(c) waived expenses, the FMO should provide confirmation that the expense meets the requirements as outlined in ALDAC 25 STATE 14458.

BSS will update the system daily at 4:00 PM Charleston time (4:00 AM Bangkok time) to allow the provided transaction numbers to process. Post will have 24 hours to process the
transaction for integration to RFMS/M. Note: collections are not impacted by the relationship edits.

Guidance for Prime Pay Account Payments
A Prime Pay account is a direct debit bank account established to pay utility and telephone bills. As part of the account reconciliation guidelines, post processes a certified voucher
using Payment Media “F” – “DO NOT PROCESS” to record the direct debit transactions. For these vouchers, post should email the Business and Systems Support Division (BSS) at
gfsc-accountingbss-dl@state.gov. BSS will work with post to process the voucher, and the post will certify the voucher per normal process.

The original broadcasts are shown below for your information and the original GFMS RFMS System Relationship Edits document is attached.


This message is being sent on behalf of the Bureau of the Comptroller and Global Financial Services (CGFS) to all posts.

This broadcast is being issued as an update to the previously released Broadcast 1038497 that first notified posts of relationship edits established in GFMS and RFMS to control
foreign assistance spending. Relationship edits preventing the establishment of new obligations will be lifted in both RFMS and GFMS. Users will receive an overridable warning
message in the systems as in example below:




Applicable new obligations must comply with the guidelines outlined in ALDAC 25 State 6828, issued on Friday, January 24, 2025, and 25 State 10948, issued on Wednesday,
February 5, 2025.

Key Points:
     Lifting of Relationship Edits: The restrictions on establishing new obligations will be removed
     Compliance Requirement: Each new obligation established must have an attached approved "Obligation or Disbursement under Waiver of Foreign Assistance Pause" form

Please ensure that all obligations are processed in accordance with these requirements to maintain compliance and proper documentation. It is imperative that Funds Availability
approvers review the list of foreign assistance accounts provided in the original broadcast message below and ensure that an Obligation or Disbursement under Waiver of Foreign
Assistance Pause form is completed by Assistant Secretaries (A/S) (or Acting A/S) and Senior Bureau Officials (SBO) prior to entering the obligation document in the systems. The
approval form should be retained with the obligation support package and can be uploaded to E2, ILMS, RFMS/M, and GFMS, etc.

The original broadcast is shown below for your information and the original GFMS RFMS System Relationship Edits document is attached.

This message is being sent on behalf of the Bureau of the Comptroller and Global Financial Services (CGFS) to all posts.

To facilitate compliance with the executive order to pause financial assistance, CGFS introduced a number of relationship edits to control the spending of foreign assistance funding
in both GFMS and RFMS. Please refer to the attached Relationship Edits document for an explanation of the controls and exceptions.

Please contact the CGFS Customer Support Desk or your CGFS Accountant with any questions.

Thank you,

CGFS Overseas Customer Support
Charleston – ph. 843-308-5610, IVG 35610
Bangkok – ph. 662-205-5932, IVG 675-5932
Sofia – ph. 359-2-939-5555, IVG 368-5555
Email: DeskPS@state.gov / GAL: CGFS Overseas Customer Support Desk

Find answers to your questions any time: Search CGFS Knowledge Base.
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 27 of 53




                   SBU - DELIBERATIVE PROCESS
UNCLASSIFIED Case 1:25-cv-00402-AHA           Document 44        Filed 02/26/25       Page 28 of 53




                                                  UNCLASSIFIED




               MRN:            25 STATE 14458
               Date/DTG:       Feb 19, 2025 / 192246Z FEB 25
               From:           SECSTATE WASHDC
               E.O:            13526
               TAGS:           ABUD, AFIN, AMGT
               Pass Line:      MCO REPEAT TO ALDAC POSTS INCLUDING MINIMIZED FOR
                               MANAGEMENT OFFICERS GSOS AND FMOS FOR CGFS/DCFO/FPRA
                               CGFS/GFS/WO NEA/EX A/GO/SP/PP AF/EX WHA/EX EAP/EX EUR-IO/EX
               Subject:        (SBU) Processing Mission Essential 12c Expenses Under 25 State 6828




                 1. (SBU) Summary: This ALDAC provides updated technical guidance to
                    post financial and management offices on processing expenses
                    consistent with Executive Order 14169 on Reevaluating and Realigning
                    United States Foreign Aid and the Secretary's direction in 25 STATE
                    6828, which paused all new obligations and disbursements of
                    Department of State and USAID foreign assistance. This guidance
                    follows the waiver authority outlined in 25 STATE 6828 (para 12
                    section c), "The Secretary of State has approved waivers of the pause
                    under the Executive Order and this ALDAC… on a temporary basis,
                    salaries and related administrative expenses, including travel, for U.S.
                    direct hire employees, personal services contractors, and locally
                    employed staff." End Summary.

               (SBU) INSTRUCTIONS FOR PROCESSING 12(c) ADMINISTRATIVE EXPENSE
               PAYMENTS

                 2. (SBU) Effective immediately, to facilitate timely and essential critical
                    payments supporting mission operations related to 12(c) waived
                    expenses, posts may proceed processing through the Post Support
                    Unit (PSU) and obligating these expenses at post without obtaining
                    Senior Bureau Officer (SBO) approvals for waived 12(c) related




UNCLASSIFIED                                                                                          Page 1 of 3
UNCLASSIFIED Case 1:25-cv-00402-AHA      Document 44      Filed 02/26/25   Page 29 of 53




                  expenses. The PSU will verify these 12(c) expenses as expenditures
                  related to the 1000-2000 budget object classes (BOC), which by
                  definition are administrative costs and related 4160 BOC for Value
                  Added Tax on those expenses.

               3. (SBU) This waiver includes administrative expenses, and travel, for U.S.
                  direct hire (USDH) employees, personal services contractors (PSCs),
                  and locally employed (LE) staff funded from foreign assistance, and
                  includes salaries and payroll benefits for USDH, PSCs, and LE Staff;
                  insurance payments for USDH, PSCs, and LE Staff; USDH, PSC, and LE
                  Staff cell phone costs; LE Staff Health Insurance; PSC contracts; ICASS
                  costs; USDH and PSC housing leases; residential trash collection for
                  USDH and PSC residences at post; utility expenses for USDH and PSCs;
                  fuel and security costs for residential and non-residential facilities-
                  (including security guard services, surveillance systems, and related
                  security measures); and communication costs for USDH and PSCs
                  (including phone lines, internet access, and other communication
                  infrastructure).

               4. (SBU) Travel will continue in accordance with established regional
                  bureau approval procedures for E2 authorizations. Post should resume
                  established payment procedures for MED MEDEVAC and Subsistence
                  Expense Allowances for evacuation travel under this waiver, if they
                  have not already done so.

               5. (SBU) This waiver does not extend to new obligations related to new
                  PSC contracts nor for other waived items outside of the 12c scope of
                  25 STATE 6828. For these activities, please refer to 25 STATE 10948
                  and Obligation or Disbursement under Waiver of Foreign Assistance
                  Pause form.

               6. (SBU) Procedural Note: to facilitate compliance with the executive
                  order to pause financial assistance, CGFS introduced a number of
                  relationship edits to control the spending of foreign assistance funding
                  in both GFMS and RFMS announced in Informational Broadcast




UNCLASSIFIED                                                                                 Page 2 of 3
UNCLASSIFIED Case 1:25-cv-00402-AHA          Document 44        Filed 02/26/25   Page 30 of 53




                       1038497. These relationship edits on foreign assistance related
                       account payments will remain in place for all transaction types,
                       including 12(c) waived expenditures. To override system edits Posts
                       should submit E2 and non-salary payment vouchers citing foreign
                       assistance funding to the Post Support Unit for processing.

                 7. (U) If you have any questions about these instructions, please contact
                    the Post Support Unit mailbox at GFSPSU@state.gov.

                 8. Minimize considered.

               MINIMIZE CONSIDERED
               Signature:      RUBIO

               Info:             ALL DIPLOMATIC AND CONSULAR POSTS COLLECTIVE Immediate
               XMT:              BASRAH, AMCONSUL; CARACAS, AMEMBASSY; CHENGDU, AMCONSUL;
                                 KABUL, AMEMBASSY; MINSK, AMEMBASSY; SANAA, AMEMBASSY; ST
                                 PETERSBURG, AMCONSUL; VLADIVOSTOK, AMCONSUL;
                                 YEKATERINBURG, AMCONSUL

                                                 UNCLASSIFIED




UNCLASSIFIED                                                                                     Page 3 of 3
                                                               GFMS
Relationship
                                                          Edit description                                                Added
Edit number
               Foreign Assistance spending not permitted - Header Accounting Lines for all applicable domains other     01/24/2025
   1368        than cash receipts, payments, internal vouchers, and internal direct agreements
               Foreign Assistance spending not permitted - Itemized Accounting Lines for all applicable domains other   01/24/2025
   1369        than cash receipts, payments, internal vouchers, and internal direct agreements
   1370        Foreign Assistance spending not permitted - Internal Vouchers only                                       01/24/2025
                                                                                                                                     Case 1:25-cv-00402-AHA




   1371        Foreign Assistance spending not permitted - Internal Direct Agreements only                              01/24/2025
   1374        Foreign Assistance spending not permitted - Header Accounting Lines payments only                        01/30/2025
   1375        Foreign Assistance spending not permitted - Itemized Lines payments only                                 01/30/2025
               Foreign Assistance spending not permitted - Cash Receipts only (allowing everything except federal       01/30/2025
   1376        vendors that have a line type of either debit voucher - advance or debit voucher - normal)
                                                                                                                                     Document 44




               Foreign Assistance Obligations and Commitments - Please ensure you have an approval memo from a          02/07/2025
   1387        Senior Bureau Official prior to processing commitments and obligations (Header Accounting Lines)
               Foreign Assistance Obligations and Commitments - Please ensure you have an approval memo from a          02/07/2025
   1388        Senior Bureau Official prior to processing commitments and obligations (Itemized Accounting Lines)
                                                                                                                                     Filed 02/26/25
                                                                                                                                     Page 31 of 53
                                                             RFMS/M
Relationship
                                                          Edit description                                                Added
Edit number
               Foreign Assistance spending not permitted - Itemized Lines - All applicable domains except internal
               vouchers, payment authorizations, cash receipts. No new transactions except payroll/477s/obligations.
                                                                                                                        01/24/2025
               Note: New transactions by post require ALDAC compliance and memo approved by Senior Bureau
    550        Official
               Foreign Assistance spending not permitted - Header Accounting Lines - All applicable domains except
               internal vouchers, payment authorizations, cash receipts. no new transactions except
                                                                                                                        01/24/2025
               payroll/477s/obligations, and BOC class 21. Note: New transactions by post require ALDAC compliance
    551        and memo approved by Senior Bureau Official
                                                                                                                                     Case 1:25-cv-00402-AHA




    552        Foreign Assistance spending not permitted - Internal Vchrs only (NV, DW, DN docs)                        01/24/2025
    556        Foreign Assistance spending not permitted - Itemized Lines - payments only, Imprest funds blocked (DR)   01/24/2025
               Foreign Assistance spending not permitted - Header Accounting Lines - payments only, Imprest funds
                                                                                                                        01/24/2025
    557        blocked (DR)
               Foreign Assistance Obligations and Commitments - Please ensure you have an approval memo from a
                                                                                                                        02/07/2025
    562        Senior Bureau Official prior to processing commitments and obligations (Header Accounting Lines)
                                                                                                                                     Document 44




               Foreign Assistance Obligations and Commitments - Please ensure you have an approval memo from a
                                                                                                                        02/07/2025
    563        Senior Bureau Official prior to processing commitments and obligations (Itemized Accounting Lines)
                                                                                                                                     Filed 02/26/25
                                                                                                                                     Page 32 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 33 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 34 of 53
                                                             GFMS
Relationship
                                                               Edit description                                                     Added
Edit number
               Grants activity not permitted - No activity is allowed for the following document types: G1, G2, G3, G4, G5, G6,   01/24/2025
               G7, GF, GO, and GW - 2/3/25: Edit will allow de-obligations on existing lines. No NEW obligations and no
   1372        increases
               Grants activity not permitted - Payments only - No activity is allowed for the following document types: GA and    01/24/2025
   1377        GP
                                                                                                                                               Case 1:25-cv-00402-AHA




                                                           RFMS/M
Relationship
                                                               Edit description                                                     Added
Edit number
               Grant Activity - Obligation document types: GG, GQ, MG, SG, SQ - 2/7/25: New and Existing obligation               01/24/2024
    553        adjustments allowed with ALDAC process followed. Overrideable warning message against all obligations.
                                                                                                                                               Document 44




               No Grant Payment Activity - Payments referencing (GG, GQ, MG, SG, SQ) Document Types DI, DT, EI, LI, LV,           01/24/2024
    554        PC, PT, PV, RP, UP, EX, TV, TX
                                                                                                                                               Filed 02/26/25
                                                                                                                                               Page 35 of 53
                                                                    GFMS
Relationship
                                                              Edit description                                                    Added
Edit number
               USAID spending not permitted - Header Accounting Lines for all applicable domains other than internal            02/03/2025
   1378        vouchers and internal direct agreements
               USAID spending not permitted - Itemized Accounting Lines for all applicable domains other than internal          02/03/2025
   1379        vouchers and internal direct agreements
                                                                                                                                02/03/2025
                                                                                                                                             Case 1:25-cv-00402-AHA




   1380        USAID spending not permitted - Internal Vchrs only
                                                                                                                                02/03/2025
   1381        USAID spending not permitted - Internal Direct Agreements only
                                                                                                                                02/04/2025
   1382        USAID spending not permitted - Header Accounting Lines payments only
                                                                                                                                02/04/2025
                                                                                                                                             Document 44




   1383        USAID spending not permitted - Itemized Lines payments only
               USAID spending not permitted - Cash Receipts only (allowing everything except federal vendors that have a line   02/06/2025
   1384        type of either debit voucher - advance or debit voucher - normal)
                                                                                                                                             Filed 02/26/25
                                                                                                                                             Page 36 of 53
                                                               RFMS/M
Relationship
                                                            Edit description        Added
Edit number

                                                                                  02/03/2025
    558        Only allow USAID Payroll and collections Header Accounting Lines

                                                                                  02/04/2025
    559        Only allow USAID Payroll Itemized Lines.

                                                                                  02/05/2025
    560        USAID spending not permitted
                                                                                               Case 1:25-cv-00402-AHA
                                                                                               Document 44
                                                                                               Filed 02/26/25
                                                                                               Page 37 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 38 of 53




        Exhibit 11
UNCLASSIFIED Case 1:25-cv-00402-AHA           Document 44        Filed 02/26/25       Page 39 of 53




                                                  UNCLASSIFIED




               MRN:            25 STATE 14458
               Date/DTG:       Feb 19, 2025 / 192246Z FEB 25
               From:           SECSTATE WASHDC
               E.O:            13526
               TAGS:           ABUD, AFIN, AMGT
               Pass Line:      MCO REPEAT TO ALDAC POSTS INCLUDING MINIMIZED FOR
                               MANAGEMENT OFFICERS GSOS AND FMOS FOR CGFS/DCFO/FPRA
                               CGFS/GFS/WO NEA/EX A/GO/SP/PP AF/EX WHA/EX EAP/EX EUR-IO/EX
               Subject:        (SBU) Processing Mission Essential 12c Expenses Under 25 State 6828




                 1. (SBU) Summary: This ALDAC provides updated technical guidance to
                    post financial and management offices on processing expenses
                    consistent with Executive Order 14169 on Reevaluating and Realigning
                    United States Foreign Aid and the Secretary's direction in 25 STATE
                    6828, which paused all new obligations and disbursements of
                    Department of State and USAID foreign assistance. This guidance
                    follows the waiver authority outlined in 25 STATE 6828 (para 12
                    section c), "The Secretary of State has approved waivers of the pause
                    under the Executive Order and this ALDAC… on a temporary basis,
                    salaries and related administrative expenses, including travel, for U.S.
                    direct hire employees, personal services contractors, and locally
                    employed staff." End Summary.

               (SBU) INSTRUCTIONS FOR PROCESSING 12(c) ADMINISTRATIVE EXPENSE
               PAYMENTS

                 2. (SBU) Effective immediately, to facilitate timely and essential critical
                    payments supporting mission operations related to 12(c) waived
                    expenses, posts may proceed processing through the Post Support
                    Unit (PSU) and obligating these expenses at post without obtaining
                    Senior Bureau Officer (SBO) approvals for waived 12(c) related




UNCLASSIFIED                                                                                          Page 1 of 3
UNCLASSIFIED Case 1:25-cv-00402-AHA      Document 44      Filed 02/26/25   Page 40 of 53




                  expenses. The PSU will verify these 12(c) expenses as expenditures
                  related to the 1000-2000 budget object classes (BOC), which by
                  definition are administrative costs and related 4160 BOC for Value
                  Added Tax on those expenses.

               3. (SBU) This waiver includes administrative expenses, and travel, for U.S.
                  direct hire (USDH) employees, personal services contractors (PSCs),
                  and locally employed (LE) staff funded from foreign assistance, and
                  includes salaries and payroll benefits for USDH, PSCs, and LE Staff;
                  insurance payments for USDH, PSCs, and LE Staff; USDH, PSC, and LE
                  Staff cell phone costs; LE Staff Health Insurance; PSC contracts; ICASS
                  costs; USDH and PSC housing leases; residential trash collection for
                  USDH and PSC residences at post; utility expenses for USDH and PSCs;
                  fuel and security costs for residential and non-residential facilities-
                  (including security guard services, surveillance systems, and related
                  security measures); and communication costs for USDH and PSCs
                  (including phone lines, internet access, and other communication
                  infrastructure).

               4. (SBU) Travel will continue in accordance with established regional
                  bureau approval procedures for E2 authorizations. Post should resume
                  established payment procedures for MED MEDEVAC and Subsistence
                  Expense Allowances for evacuation travel under this waiver, if they
                  have not already done so.

               5. (SBU) This waiver does not extend to new obligations related to new
                  PSC contracts nor for other waived items outside of the 12c scope of
                  25 STATE 6828. For these activities, please refer to 25 STATE 10948
                  and Obligation or Disbursement under Waiver of Foreign Assistance
                  Pause form.

               6. (SBU) Procedural Note: to facilitate compliance with the executive
                  order to pause financial assistance, CGFS introduced a number of
                  relationship edits to control the spending of foreign assistance funding
                  in both GFMS and RFMS announced in Informational Broadcast




UNCLASSIFIED                                                                                 Page 2 of 3
UNCLASSIFIED Case 1:25-cv-00402-AHA          Document 44        Filed 02/26/25   Page 41 of 53




                       1038497. These relationship edits on foreign assistance related
                       account payments will remain in place for all transaction types,
                       including 12(c) waived expenditures. To override system edits Posts
                       should submit E2 and non-salary payment vouchers citing foreign
                       assistance funding to the Post Support Unit for processing.

                 7. (U) If you have any questions about these instructions, please contact
                    the Post Support Unit mailbox at GFSPSU@state.gov.

                 8. Minimize considered.

               MINIMIZE CONSIDERED
               Signature:      RUBIO

               Info:             ALL DIPLOMATIC AND CONSULAR POSTS COLLECTIVE Immediate
               XMT:              BASRAH, AMCONSUL; CARACAS, AMEMBASSY; CHENGDU, AMCONSUL;
                                 KABUL, AMEMBASSY; MINSK, AMEMBASSY; SANAA, AMEMBASSY; ST
                                 PETERSBURG, AMCONSUL; VLADIVOSTOK, AMCONSUL;
                                 YEKATERINBURG, AMCONSUL

                                                 UNCLASSIFIED




UNCLASSIFIED                                                                                     Page 3 of 3
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 42 of 53




        Exhibit 12
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 43 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 44 of 53
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 45 of 53




        Exhibit 13
      Case 1:25-cv-00402-AHA           Document 44        Filed 02/26/25      Page 46 of 53




                                                              Acquisition Alert 25-09

TO:           All Contracting Activities

FROM:         Sharon James
              Managing Director
              Acquisition Policy Directorate, U.S. Department of State

SUBJECT:      Specific Guidance on Foreign Assistance-Funded
              Acquisitions Reviewed and Identified for Termination

1. Introduction: The purpose of the Acquisition Alert (AA) is to issue instructions
to all Contracting Activities to commence termination of certain Foreign
Assistance-Funded Actions when notified to do so. This notice is separate to any
previous guidance issued relating to Foreign Assistance-Funded Acquisitions.

2. Background: In alignment with Executive Order 14169 (January 20, 2025), titled
Reevaluating and Realigning United States Foreign Aid, the Department has
completed its review of several existing Foreign Assistance-Funded actions and
has made the decision to terminate certain actions that are considered
inconsistent with United States foreign policy.

3. Acquisition Impact: This guidance does not rescind AA 25-05 and AA-25-05-01
but notifies Contracting Activities that additional termination instructions are
forthcoming. If Contracting Activities receive such new official instructions, they
should immediately proceed with implementation of termination.

4. Action Required: Upon receipt of actions identified for termination,
Contracting Officers (COs) must take immediate action to effectuate a full
termination for convenience of the government.




The document(s) shared herein is proprietary to the Department of State for Internal Use only and if
     shared with U.S. Government agency partners in the conduct of business must be handled
                      accordingly. Release to the public is hereby prohibited.
     Case 1:25-cv-00402-AHA            Document 44        Filed 02/26/25      Page 47 of 53
                                     Acquisition Alert 25-05-02
                                                -2-

  a. The following table shows the termination authority for each type of
     contract under FAR:

        Contract type                           Clause/Title/Authority
      Commercial              Termination for Convenience of the Government - FAR
                              52.212-4(l)
      Non-Commercial          Termination for Convenience of the Government - FAR
      under SAT               52.213-4(f)
      Non- Commercial         Applicable Termination Clause from 49.502 based on
      over SAT                contract terms and conditions


  b. The CO must annotate compliance with the above guidance in the
     Implementation Tracker.

5. Effective Date: This Acquisition Alert is effective upon issuance.

6. Expiration Date: This Acquisition Alert does not expire unless subsequent
   information requires a change.

7. Additional Information: Questions regarding this Acquisition Alert may be
   directed to AcquisitionPolicy@state.gov.

8. Attachments: None.

9. Referenced Documents, Checklists, Guides and Templates:
   Implementation Tracker




The document(s) shared herein is proprietary to the Department of State for Internal Use only and if
     shared with U.S. Government agency partners in the conduct of business must be handled
                      accordingly. Release to the public is hereby prohibited.
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 48 of 53




        Exhibit 14
      Case 1:25-cv-00402-AHA    Document 44    Filed 02/26/25   Page 49 of 53




                                                  Acquisition Alert 25-05-01

TO:         All Contracting Activities

FROM:       Sharon James
            Managing Director
            Acquisition Policy Directorate, U.S. Department of State

SUBJECT:    Guidance to Suspend the Pause of Foreign Assistance-Funded
            Acquisitions

1. Introduction: The purpose of the amended Acquisition Alert (AA) is to instruct
   all Contracting Activities to cease all actions to further comply with the
   guidance provided under the initial AA 25-05, Guidance on Pause of Foreign
   Assistance-Funded Acquisitions, or with any other guidance directing the
   termination or suspension of foreign assistance funded contracts.

2. Background: On February 13, 2025, the Court hearing the case of AIDS Vaccine
   Coalition v. U.S. Department of State and Global Health Council v. Trump
   entered a temporary restraining order (TRO) against the Department of State,
   USAID, and OMB. Notification of the TRO was provided to the contractor
   community via a SAM.Gov notice posted on February 14, 2025.

3. Acquisition Impact: In connection with the litigation, Contracting Officers
   (COs) must not take further action to effectuate terminations or suspensions
   (including those pursuant to previously issued guidance) at this time.

4. Action Required: COs must cease further action to pause any new obligations
   or disbursements of foreign assistance funds to contractors (including those
   pursuant to previously issued guidance) at this time. However, COs may
   continue any actions under any exceptions or waivers granted by the Secretary
   of State, including to lift a previously issued suspension, or to certify the
   disbursement of a payment.
     Case 1:25-cv-00402-AHA      Document 44         Filed 02/26/25   Page 50 of 53

                                Acquisition Alert 25-05-01
                                           -2-


5. Effective Date: This Acquisition Alert is effective upon issuance.

6. Expiration Date: This Acquisition Alert expires when future guidance is issued.

7. Additional Information: Questions regarding this Acquisition Alert may be
   directed to AcquisitionPolicy@state.gov.

8. Attachments: None.

9. Referenced Documents: N/A
Case 1:25-cv-00402-AHA   Document 44   Filed 02/26/25   Page 51 of 53




        Exhibit 15
   Case 1:25-cv-00402-AHA          Document 44        Filed 02/26/25     Page 52 of 53




FEDERAL ASSISTANCE MANAGEMENT ADVISORY NUMBER 2025-05 (A)

SUBJECT: Amended Guidance on Pause of Foreign Assistance-funded Federal Assistance
Awards

 1. Scope:

This policy applies to all foreign assistance-funded federal assistance awards.

 2. Background and Purpose:

On February 13, 2025, the Court hearing the case of AIDS Vaccine Coalition v. U.S. Department
of State and Global Health Council v. Trump entered a temporary restraining order (TRO)
against the Department of State, USAID, and OMB. In connection with the litigation, Grants
Officers (GOs) must not take further action to effectuate terminations or suspensions
(including those pursuant to previously issued guidance) at this time. Notification of the TRO
was provided via a SAM.Gov notice posted on February 14, 2025. notice posted on February
14, 2025.

 3. Policy:

GOs must cease further action to pause any new obligations or disbursements of foreign
assistance funds (including those pursuant to previously issued guidance) at this time.
However, GOs may continue any actions under any exceptions or waivers granted by the
Secretary of State, including to lift a previously issued suspension, or to certify the
disbursement of a payment.

 4. Authority:

 Global Acquisition (A/GA) prescribes policies, regulations, and procedures for the award
 and administration of Federal financial assistance agreements.

 5. Effective Date

 This Federal Assistance Management Advisory is              as of February 17, 2025.
  Case 1:25-cv-00402-AHA         Document 44         Filed 02/26/25   Page 53 of 53




6. Questions:

Please send questions regarding this policy via e-mail to aopefagrantspolicy@state.gov,
or refer to the A/GA/APD/FA/FAPD SharePoint at https://usdos.sharepoint.com/sites/A-
OPE/FA/SitePages/Home.aspx for additional policy resources, training materials, useful
forms, and points of contact.

If payment\disbursement questions come about as a result of this pause, please reach out to
CGFS\FAFM at FAFM@state.gov.




Sharon D. James
Managing Director, Acquisitions Policy Directorate
U.S. Department of State


                                                           Issuance Date: February 17, 2025
